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The Respondent’s inability to honer agreements has destroyed the Stipulation’s Most
Essential Part of the Bargain.

The Respondent made all of the above promises to entice the Petitioner to enter into the
Stipulation. The Petitioner relied on and accepted the Respondent’s promises despite her
previous misconduct. For instance, the Respondent used time and effort, and money, invested by
the Petitioner from 2009 to come to a custody agreement, on the same terms of the custody
sought in this Petition, and then hiring an attorney under a collaborative agreement to prepare her
hostile divorce strategy. [Exhibit J] So shown in Exhibit J the Respondent reassured the
Petitioner of her commitment to a peaceful resolution of their divorce right before she initiated
the most hostile forms of divorce available to her.

The Petitioner understands that this in the past, and does not allow any emotions generated by
those event to interfere with the present, but the Respondent refuses to bury the hatchet. The
Respondent entered into the contract and swore to it in Court and accepted the extraordinary sum
of $95,000 yet immediately continued to deal in anger and cause negativity and melodrama in
my and Eva’s life that is interfering with the constructive upbringing of the child. [See Exhibit Cc
and Notices of Defaults in Exhibit C]

The bargain the Petitioner struck with the Respondent allocated benefits between them intended
to be independent of any remedies available under our agreement, including any failure of such a
remedy to achieve the bargain’s essential purpose of providing peace and security and a healthy
full relationship for the child with both parents. From the Petitioner’s point of view, this is the
most essential part of the deliberately bargained term requiring that there be a civil, respectful
parenting relationship.

The Respondent is the Moneyed and More Affluent Spouse

The Respondent’s own filings in the Supreme Court action show that she has access to unlimited
financial resources to pay for litigation cost and expenses that far exceed those of the Petitioner.
Initially the Respondent retained Judd Burstien, P.C. who charged up to $1,000 per hour and
Chemtob, Moss, Forman & Talbert, LLP at rates up to $675 per hour. Each of these attorneys
came to court with the highest priced class of associates.

The Respondent filed for divorce in Supreme Court on January 11, 2011. The Final Judgment of
Divorce is dated August 13, 2013. The Petitioner was ONLY represented for 6 of the 32
months during which the Respondent’s was advised by both firms mentioned above to conduct
her extreme aggressive litigation. The Respondent relied on Richard Min, a 32 year old sole
practitioner at an effective hourly rate of less than $100 per hour, a small fraction of the rate
charges by Chemtob, Moss, Forman & Talbert, LLP and even less than the charge the
Respondent paid for paralegals.
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The Respondent filed three DRL 226 Statements of Net Worth in the Supreme Court action. In
the first, dated February 9, 2011 the Respondent verified having monthly AFTER INCOME
TAX expenses of $15,077. The Respondent received $1250 of child support and no martial
support during this time.

The Respondent’s Statement of Net Worth failed to include ae expenses. The Respondent
filed copies of her passport in the Supreme Court action.

 

 

 

 

 

 

 

 

 

 

 

 

Trip Date Entry/ Exit Country

i 10/21/10 Entry Republica Argentina
10/23/10 Exit Republica Argentina
10/24/10 Entry USA

2 13/23/10 Entry St. Maarten
12/01/10 Entry USA

3 12/28/10 Entry St. Maarten
01/03/11 Entry USA

4 ? Entry ?
03/15/11 Entry USA

5 ? Entry ?
05/23/11 Entry USA

6 ? Entry ?
07/04/11 Entry USA

7 ? Entry ?
08/30/11 Entry USA

8 ? Entry ?
11/28/11 Entry USA

5 02/24/12 Entry istanbul
02/28/12 Entry USA
05/29/12 _ Ineligible Ineligible

10 08/07/12 Entry Madrid

? Entry USA

ii 08/17/12 Entry Republica Dominicana
08/20/12 Exit Republica Dominicana
08/20/12 Entry USA

 

The Respondent's passport was missing five pages. Yet the filing showed constant international
travel to Turkey, Argentina, St. Maarteen, Spain, and the Dominican Republic. In addition the
Respondent travels extensively. None of the Respondent's three Statements of Net Worth
reported any travel expenses. The Respondents luxury leisure traveling continues and has not a
single time given Eva to me while she travels.
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The Court must consider the Resnondent’s Decentive Tactics when considered to grant this
motive of contempt and modification.

The Respondent commenced litigation on September 13, 2010 by having the Petitioner arrested
on frivolous and entirely fictional baseless charges a scheme she secretly while | was naively
anticipating her execution of a stipulation and filing to have a Final Judgment entered that would
incorporate a collaborative divorce agreement that the Respondent had executed after conducting
lengthy negotiations with joint a collaborative attorney and mediator. The Respondent’s
criminal charges were immediately and summarily dismissed. (Exhibit L]

On February 15, 2011 the Respondent filed a petition on an ex parte basis claiming I had
adducted my daughter and seeking an order to have me arrested and to have my visitation rights
suspended. The Respondent made this filing in Family Court after having withdrawn her
petitions from Family Court in order to file a complaint in Supreme Court with a sworn promise
to pursue all her petitions in Supreme Court. The Respondent’s charges were immediately and
summarily dismissed and the order that she had obtained were immediately and summarily
dismissed. [Exhibit M]

 

On September 5", 2013 the Respondent came to my residence while Eva was with me in
accordance to the existing custody agreement to take the Child from me. She used her
undeserved protective order to intimate me and took Eva from me. She then called the police
and had the child put into a police car and took her to be interrogated. She had recently added
new counsel expert in manipulating the state’s domestic violence laws. This new counsel used
the Respondent’s scheme to file a petition to suspense my visitation and petition for me to be
criminally charges and arrested. Later the Respondent admitted on the record that she acted in
accordance to her lawyer’s instruction. The charges were dismissed, I was not arrested, and the
order that she sought was not granted.

The Court must also consider the Respondent’s record of discarding her written
agreements.

The Respondent entered in contracts two (2) separation agreements, confirmed the validity of her
prenuptial agreements, executed a retainer with a collaborative attorney, and entered into divorce
settlement that included equal time sharing and a full co-custody co-parenting agreement before
electing to pursue the actions described above. As noted above, these actions include making
filing in Family Court while engaged in litigation in Supreme Court.

Also noted above, the Respondent commenced litigation after she signed a collaborative divorce
agreement while the Petitioner relied on her email assurances and was anticipating the filing to
have a Final Judgment entered in accordance to the joint a collaborative attorney and mediator.
{Exhibit J]
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The Respondent’s past disregard of the child’s basic interest in the Petitioner’s welfare and
existing misconduct towards the Petitioner and child through her violations of the court’s order is
apparently driven by misdirected anger and a lack of understanding and interest in
understanding. The Petitioner cares about the child and the child cares for the Petitioner. The
Petitioner grew up witnessing and living with my grandparents and parents, aumts and uncles,
and cousins that lived to support each other, their school and church and their community. This
is an experience that the Respondent has no interest in living. She has chosen not to work to
support herself and devote herself to leisure and travel.

Adverse unexpected economic changes make the current child support unsustainable thus
legal and all litigation are economically unfeasible.

 

At the time the Petitioner agreed to pay the Respondent $3,000 per month child support his
wholly owned company, Asensio & Company, Inc.’s (“ACO”), his only and sole source of
personal earnings, had an application pending with the State of New York to become a registered
investment advisor. The Petitioner fully anticipated that this application would be granted and
had no information or knowledge of Jaw or fact that it would be denied. Approval of the
application is as a work around for a bar from association with the FINRA, a private company
that is the nation’s only self-regulatory organization for securities brokers. The Petitioner was
the only dedicated short seller ever to have been a member of FINRA, and thus not merely a
minority but a unique member in FINRA that has no supporting or protecting regulations for
short sellers from the inherent conflicts between FINRA’s non-short selling members. The
Petitioner and ACO rely exclusively on short selling for all its revenues. These decisions were
not anticipated and the adverse outcomes caused a material negative economic effect on the
Petitioner and his business. [Exhibit K] The bar and FINRA’s regulatory monopoly cut off all
of ACO’s revenues that are the only source of income for the Petitioner.

The Respondent experienced the conflict between FINRA and ACO from the beginning to the
end, The Respondent experienced the drastic change in financial status that resulted from the
bar. The Respondent has a full understanding of the time and commitment that the Petitioner put
into restoring his relationship with FINRA, and witnessed firsthand the enormous cost and
futility of the effort and the depleting effects of the Petitioner's FINRA bar the coincidental
timing in the fall of 2008 during the darkest moments of the financial crisis. Approval of the

New York application was necessary to fund the $3000 child support payments.

As a result of the above change of circumstances, ACO could not generate earnings, was unable
to afford to continue to make office rental payments, was sued by its landlord, and could not
continue to pay salaries and the Petitioner had closed ACO’s offices. The Order states that
pursuant to Section 240 1-b, sub-division (b) (1) of the Domestic Relations Law that the amount
allocated to Petitioner for Child support payments is $197.20 per month. The Petitioner has
incurred a material adverse economic change as described below. As described above, the
Respondent is the more affluent, moneyed spouse.

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Certificate of Service and Petition

WHEREFORE, Petitioner respectfully requests that the judgment order of the Supreme Court,
dated August 13" 2012, filed August 20", 2013, be modified as set forth above and for such

other relief as the Court may deem just and proper hereby certify that on Wednesday, November
19, 2013, I delivered by hand, mailed and email a true, correct and complete copy of this Petition
for Enforcement and Modification of Supreme Court Order of Custody and Visitation with its
exhibits..

Dated: November 20, 2013

Petitioner Li A fo

Méwvel Fo Asensro

Petitioner’s Address and Telephone Number Printed name and address
400 East 54" Street, Apartment 29B
New York, NY 10022
VERIFICATION
STATE OF NEW YORK )
:SS?
COUNTY OF NEW YORK )

being duly sworn, says that (s)he is the Petitioner in the above-named proceeding and that the
foregoing petition is true to (his)(her) own knowledge, except as to matters therein stated to be
alleged on information and belief and as to those matters (s)he believes it to be true.

cate fae
— to
NICHOLAS L JWILLIA
NOTARY PUBLIC, STATE ricees
RUALI TED Nnew YORK COUNTY
Sworn to before this. Ee ee
o me this af MY COMBA EXP. 0910772014

day of Moyvenber a0/3
(Deputy) Clerk of the Court

Notary Public

10
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EXHIBIT 3
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F.C.A. §§ 651, 652, 654

FAMILY COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

Docket No. V-43839-13/13A
In the Matter of a Proceeding for Custody/Visitation

Under Article 6 of the Family Court Act AMENDED PETITION FOR MODIFICATION
OF ORDER OF CUSTODY AND VISITATION
MANUEL P. ASENSIO MADE BY SUPREME COURT
Petitioner,
-against-

EMILIE BOSAK

Respondent

TO THE FAMILY COURT:

The undersigned Petitioner respectfully shows that:

1. J am the father of Eva Asensio. I am seeking to modify the custody provision of a judgment
of divorce
2. The home addresses of the Petitioner and Respondent are as follows: |

Petitioner:400 East 54" Street, Apartment 29B, New York, NY 10022
Respondent: 355 East 72" Street, Apartment 17C, New York, NY 10022
3 Petitioner is the non custodial parent and was the defendant in an divorce action filed in
Supreme Court of the State of New York, New York County, Index No. 300317/2011.
4, A judgment of divorce dated August 30, 2013, which incorporated a written stipulation
dated April 30, 2013, was entered in the action setting forth sole custody to the Respondent and Visitation

to Petitioner as set forth in a signed agreement.

A true copy of the judgment and stipulation of settlement is attached and made a part of this Petition, and

 

' Unless ordered confidential, pursuant to Family Court Act §154-b, because disclosure would pose an unreasonable
risk to he health or safety of the party . See Forms GF-21 and 21a, available at www.nycourts.gov.
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are annexed as Exhibits A and B, respectfully.

5. The names, addresses and dates of birth of all children affected by this order are:
Name Address” Date of Birth
Eva Asensio 355 East 72" Street October 14, 2004
Apt 17C

New York, NY 10022

6. Under the terms of the judgment the Supreme Court has not retained exclusive jurisdiction
to modify the judgment.

7 Since the agreement and entry of the judgment there has been a significant change of
circumstances as follows as detailed below.

Background Facts Prior to the Existing Agreement

8. The parties first met in 1997, and moved in together in 2001. In 2003, the parties married.
Prior to the marriage, they executed a prenuptial agreement and an amendment to that prenuptial. This
petition shall refer to the prenuptial and the amendment simply as "the prenuptial agreement" for the sake
of brevity.

9. The prenuptial agreement set forth each party's financial obligations. No mention was made
about custody or child support as it was made before the child was born.

10. | The Child Eva Asensio was born in 2004, and from her birth to 2010 the parties made
mutual decisions involving her, including but not limited to her schooling, travel, camps, cultural
upbringing and future. Eva's religious decisions were made mainly by the Father.

11. In 2007 the parties began experiencing marital difficulties and both desired to reach an
amicable resolution on all issues. The prenuptial agreement covered the financial aspects and in July 2010

the parties agreed to divorce under New York State Collaborative law. This included a true full co-

 

* Unless ordered confidential, pursuant to Family Court Act §154-b, because disclosure would pose an unreasonable risk to
he health or safety of the party . See Forms GF-21 and 21a, available at www.nycourts.gov.
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parenting and equal time sharing custody agreement that reflected the arrangement during the marriage and
also reflected the informal arrangement the parties had.

12. The Mother failed to finalize the agreement and instead commenced a Family Court
proceeding in December 2010 coupled with a false claim of domestic violence which resulted in the Father
being arrested.

13. The Mother then commenced an action in Supreme Court, New York County, seeking to set
aside the prenuptial agreement and for sole custody. The Father learned that the Mother had been secretly
recording the Father without his knowledge as part of her pre divorce planning.

14. While the Divorce was underway, the Mother filed a violation in Family Court, resulting in
an ex parte suspension of the Father's parenting time and an issuing of a warrant for his arrest.

15. The suspension and warrant were vacated when the Father was able to be heard.

16. | The Supreme Court then issued a temporary parenting time order, in which residential
custody was shared 50-50.

17. In September 2011, the Mother, apparently unhappy with returning to the 50-50 share
custody arrangement that had been in place through 2010, changed attorneys and filed an false claim,
stating that the Father had abducted the Child. The Supreme Court suspended the Father's parenting time,
which was then modified to be supervised visitation.

18. The mother's claims were found to be baseless and the Father's restrictions were removed.
However, the 50/50 arrangement was not restored.

19. | The Supreme Court conducted a custody trial. At the conclusion of the trial but before a
decision was made, the parties reached a global agreement. The Mother dropped her claims of domestic
violence and the need for supervised visits. She also waived any future right to challenge the prenuptial
agreement. In exchange, the Father paid the Mother significant amounts of money that far exceeded the

provisions of the prenuptial agreement. The terms of the prenuptial agreement were also expressly stated to
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include matters involving custody and child support, but the Mother stated her interpretation of the
prenuptial was different than that of the Father.

20. It was understood that in exchange for the financial settlement, that the Mother would cease
interfering with the Father's access to Eva. It was further understood that the parties would act in a mature
and civilized fashion, that both parents would have meaningful input to nurture and guide Eva, and foster
respect for both parents. The agreement of April 30, 2013 also incorporated by reference the parties
prenuptial agreement as amended. The agreement was incorporated by reference into a judgment of divorce
dated August 13, 2013.

21. | A-copy of the judgment is annexed hereto as Exhibit A. A copy of the Stipulation is

annexed as Exhibit B. A copy of the prenuptial agreement and amendment is annexed as Exhibit C

As and for a First Substantial Change of Circumstances
(Improper Sleeping Arrangements)

22. Following the parties’ judgment (Exhibit A) and agreement (Exhibit B) the Mother began
a new campaign to separate and alienate the child from her father with greater intensity than before she
received her financial settlement. The Mother has violated the spirit and the letter of the agreement. The
Mother has placed her own interests ahead of Eva's.

23. - At the time of the settlement, Eva had her own bedroom. Since the agreement, the Mother
has taken away the Child’s bedroom and gave it to a Eva's maternal grandmother. Eva now sleeps in her
mother’s bed and share the bedroom with her grandmother. There is no reason that Eva should not have her

own bed and her lack of a bed is a substantial change of circumstances since the agreement.
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As and for a Second Substantial Change of Circumstances
(Unanticipated Reduction of Parenting Time)

24. The settlement provides that when the Mother is away from the child for more than one
night, the Father is to be given first choice to spend time with Eva before the Mother may use a baby sitter,
unless Eva's maternal grandmother and aunt are available. Since the agreement, the Mother has allowed
the grandmother to move into the home. The Mother now spends significant amount of time away from
home and Eva, leaving her in the care of her maternal grandmother. At the time of the agreement, it was
understood that if the Mother spends time away from Eva that she would be with her Father. The
grandmother's moving into the home was calculated and designed to deprive the Father of parenting time

which he would have had under the agreement.

As and for a Third Substantial Change of Circumstances
(Mother's Routine Adversely Affecting Child)

25. | The Mother goes out regularly routinely out to night clubs, parties, or any of her other
numerous social activities, and comes home late, which affects Eva’s sleep. Even on Wednesday when Eva
is with her father and the Mother is absent, she denies the child the peace and stability of staying with the
father in her own room.

26. Eva was been late to school 22 times in the 2012-2013 school year. The Mother has claimed
that the Father is responsible for six of them. Even if this were true, (a point not conceded), there is no
excuse why Eva should be late for 16 times during which she is in the care of her mother. She also has at
least two unexcused absences from school, one of which was the Monday before an incident which
occurred on December 5, 2013. It is submitted that the Child’s lack of proper sleeping arrangements is

causing her to be late and absent, which is not in her best interests.
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21 Since the agreement, Eva has undergone a dramatic decline in her learning skills and her
study habits have deteriorated. She is unable to focus and concentrated on her school work like she used to.
The Mother fails to acknowledge that taking away Eva’s bedroom and disrupting her sleep schedule has
any bearing on her. The Mother blames the Father for Eva’s lack of sleep.

28. The Father has attempted to work with the Mother to address Eva’s education, but these
efforts are rebuffed. Mother will simply hang up the phone in anger. The Father has attempted to intervene
on behalf of Eva, but Mother has prevented the Father from making any significant changes, and has made
thinly veiled threats to make false claims to have the Father arrested if he attempts to communicate with her
about Eva’s learning needs. The Mother has placed her own selfish needs and her desire to keep the Father
out of Eva’s life over the needs of Eva. Such behavior is not in Eva’s best interests, and Eva is suffering for

it.

As and for a Fourth Substantial Change of Circumstances
(Mother improperly involving Police)

29. | The Mother repeated involved the police during Eva’s pick ups and drop offs, teaching the
child to associate her father with the need to have police protection, the Mother has done this in front of the
child. Eva regularly expresses her concerns about the Mother’s use of police in her life.

30. Eva has told the Father that her mother refuses to speak to her about her feelings towards her
father and the separations. The child has expressed to the father her sense of resignation at not being able
to maintain the closeness at least by telephone that she desires, and she is being forced to use emotional
defenses to control the sadness her unwanted situation generates.

31. | On December 5, 2013, the Father was speaking to the child’s after-school drama class
teacher in the presence of the child. The mother appeared to be infuriated, shouting and yelling vile insults

at the father in the presence of the child. The Mother called the police and made deceitful and false
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allegations against the Father. The Mother’s actions caused the Father to be arrested 91 days later on March

6", 2014.
As and for a Fifth Substantial Change of Circumstances
(Mother Denying Father Phone Access)
32. The Mother has constantly refused to allow the Father to speak to Eva when she is in her

mother’s care in accordance with the agreement. The Mother has willfully and repeatedly denied the
Father’s phone access to Eva.

33. | When the parties settled, the Mother agreed to cease her prior behavior of interfering with
the Father’s parental rights. Since the settlement agreement, the Mother has engaged in denying phone

access as part of a new campaign to interfere with Eva and her father.

As and for a Sixth Substantial Change of Circumstances
(Mother interfering with Child's Religious Beliefs)

a

34. Prior to 2011, it was agreed that Eva would be raised as a Christian. She is baptized and she
identifies herself as a Christian and as a person with traditional Judeo-Christian values. It was also
understood when the settlement was reached that Eva would continue the same religious training she had
before the divorce. It was the Father's reliance on this understanding was one of many factors in the Father
agreeing to the custody stipulation.

35. Following the divorce, the Mother has interfered with the Child's religious beliefs. As part of
the Mother's efforts in breaking the bond between Eva and her father, the Mother is now undermining
Eva’s religious upbringing. The Mother has begun teaching Eva religious views which are contrary to her
existing religious views. The child has stated to the Father that “mommy says I don’t have to go to church”

that it is not important to be a member of a church community and that “mommy says I don’t have to
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believe in God” and that is it OK not to believe God. The Mother ridicules Eva’s enrollment in a religious
school and the Father's own religious beliefs in front of Eva. It is not in Eva’s best interests to have her
religious views and her father’s credibility undercut or even changed as part of her mother’s campaign to
remove every trace of the Father from Eva’s life. The mother does not attend church services and has not in
the past. The mother has no interest in assisting with Eva’s understanding of her religious beliefs, and yet
she refuses to provide the father with access so that Eva and her father can share participation in their
shared religion. The Mother is effectively changing Eva’s views from that of a self identified Christian to

that of an atheist.

As and for a Seventh Substantial Change of Circumstances
(Mother fails to cooperate with Father)

36. Since the agreement, the Mother has denied virtually every request made by the child for
additional time with the Father, including additional overnight sleepovers with one sole exception. The
exception occurred on December 4", 2013 when the Mother agreed to allow Eva to stay with her Father.
But even this extra time was made in bad faith, as the following day, the Mother changed her mind as to the
extra parenting time and called the police claiming there was a violation of an order of protection. See
above.

37. Eva should not be forced to live under the shadow of the Mother’s never ending plots to
manipulate the police domestic violence proceedings and try to have the Father arrested in front of the
child. The Mother has a long history of doing so from prior to the agreement and all her claims were
discredited when she dropped them when a global settlement that included a financial settlement, was
reached. The Mother’s commencement of a new campaign to alienate Eva from her Father is a serious,
substantial and material change of circumstances that is adversely affecting the welfare and best interests of

Eva.
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As and for a Eighth Substantial Change of Circumstances
(Mother has alienated Child from Father and Father's Heritage )

38. Since the agreement, the Mother has begun a campaign to damage and eliminate Eva’s
paternal heritage as part of her efforts to undermine the Father's role in Eva’s life. The Father was born in
Cuba and he and his family actively maintains their Cuban customs and heritage. The Father is fluent in
Spanish as is the Mother. The Mother is fluent in French. The parties agreed to teach Eva Spanish -during
the marriage by speaking to her in Spanish at home, which went hand in hand with Eva being exposed to
both her parent’s background. Since the settlement, the mother speaks to the child exclusively in French
and has hired a tutor to teach Eva French. The Mother has prevented Eva from continuing to use the
Spanish language. The Mother has ignored the Father's request to enroll the child in Spanish summer camp
or classes.

39. The Father believes that Eva should continue to be taught Spanish, and believes that it
remains in Eva’s best interests to be multilingual in English, French and Spanish.

40. Prior to the agreement, and until the Mother prevented Eva from continuing to learn
Spanish, Eva could readily converse in Spanish. Instead of improving her Spanish, her command of the
language has substantially decreased. This damages Eva’s self identity as a child who is half Cuban and
whose father strongly identifies himself with his Cuban heritage.

4]. It was the Father’s understanding when the custody agreement was reached, that Eva would
continue to be taught Spanish. During the divorce, the Mother threatened to make Eva “unlearn” her Cuban
heritage and as a result of the first arrest was able to keep Eva enrolled in a French speaking school instead
of moving to Miami where Spanish is the second language, as agreed. This helped break the ties to her
Cuban background. The Mother was so adamant with her threats that it became necessary to include a

specific provision in the agreement which prohibits the Mother from enrolling Eva in a French speaking
